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 4                              UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
     UNITED STATES OF AMERICA, )
 7                                 )
                 Plaintiff,        )                     2:06-CR-00085-JCM-GWF
 8                                 )
     vs.                           )
 9                                 )
     STEFAN NAGHIU, et al.         )
10                                 )                     ORDER
                 Defendant.        )
11   ______________________________)
12
13          Presently before the court is the government’s motion to dismiss the indictment as to
14   defendant Anca Soni. (Doc. #550).
15          Whereas the government has stated that it was “unaware that charges were still pending
16   against defendant and does not intend to pursue the pending charges,”
17          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government’s
18   motion to dismiss the indictment as to defendant Anca Soni (doc. #550) is GRANTED.
19          Dated this 4th day of March, 2011.
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22                                                       ____________________________
                                                         United States District Court Judge
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